Case 3:20-cv-00777-BJD-JBT Document 11 Filed 04/15/21 Page 1 of 1 PageID 126




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION


DANIEL G. WRIGHT,

                    Petitioner,

v.                                                     Case No. 3:20-cv-777-BJD-JBT

SECRETARY, FLORIDA DEPARTMENT
OF CORRECTIONS,

                Respondent.
_______________________________________

                                       ORDER

      Respondents’ Motion for Clarification (Doc. 10) is GRANTED. The response was

due April 7, 2021 (response deadline appears on the docket at Doc. 6) and the Court

granted a 20-day extension, giving Respondents until April 27, 2021.

      DONE AND ORDERED at Jacksonville, Florida, this 15th day of April, 2021.




caw 4/12
c:
Counsel of Record
